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 Fill in this information to identify your case:

 Debtor 1                  Enrique Auvert
                           First Name                       Middle Name                  Last Name

 Debtor 2
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              MIDDLE DISTRICT OF FLORIDA

 Case number           6:17-bk-02499
 (if known)
                                                                                                                                              Check if this is an
                                                                                                                                               amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4/16
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

              Married
        Not married
2.     During the last 3 years, have you lived anywhere other than where you live now?

        No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                  Dates Debtor 1             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                 lived there                                                                       lived there
        5321 Granada Blvd.                                       From-To:                    Same as Debtor 1                                      Same as Debtor 1
        Miami, FL 33146                                          6/2005 to 4/2015                                                                  From-To:



        320 Oak Lane Drive                                       From-To:                    Same as Debtor 1                                      Same as Debtor 1
        Apopka, FL 32712                                         4/2015 to 4/2016                                                                  From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
        Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

        No
              Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income               Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.           (before deductions
                                                                                    exclusions)                                                    and exclusions)
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 Debtor 1      Enrique Auvert                                                                              Case number (if known)   6:17-bk-02499


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income            Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.        (before deductions
                                                                                    exclusions)                                                 and exclusions)

 From January 1 of current year until               Wages, commissions,                          $8,521.00         Wages, commissions,
 the date you filed for bankruptcy:                                                                                bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For last calendar year:                            Wages, commissions,                        $25,700.00          Wages, commissions,
 (January 1 to December 31, 2016 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business

 For the calendar year before that:                 Wages, commissions,                        $25,700.00          Wages, commissions,                       $0.00
 (January 1 to December 31, 2015 )                                                                                 bonuses, tips
                                                   bonuses, tips
                                                    Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
       Yes. Fill in the details.
                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income            Gross income
                                                   Describe below.                  each source                    Describe below.              (before deductions
                                                                                    (before deductions and                                      and exclusions)
                                                                                    exclusions)

 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
           No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,425* or more?
                         No.      Go to line 7.
                      Yes       List below each creditor to whom you paid a total of $6,425* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.
       Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                      No.         Go to line 7.
                      Yes         List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                               Dates of payment            Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe




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7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

           No
       Yes. List all payments to an insider.
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

           No
       Yes. List all payments to an insider
       Insider's Name and Address                                Dates of payment            Total amount          Amount you        Reason for this payment
                                                                                                     paid            still owe       Include creditor's name

 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

       No
           Yes. Fill in the details.
       Case title                                                Nature of the case         Court or agency                          Status of the case
       Case number
       Provincial De Reaseguros C.A., a                          Final Judgment             Cir Court,11th                            Pending
       foreign entity vs. ABA Capital                                                       Judicial,Miami-Dade, FL                   On appeal
       Markets Corp., a foreign entity, and
       Enrique Auvert Ventencourt, an
                                                                                                                                        Concluded

       individual
       11-03721- CA 09

       Alirio Gonzalez vs. Enrique Auvert                                                   Circuit, 11th                               Pending
       Vetencourt                                                                           Judicial,Miami-Dade, FL                   On appeal
       2016-017674-CA-01
                                                                                                                                      Concluded

       George Shortt & Carolina Shortt                           Money damages              Circuit Ct of the 11th Jud.                 Pending
       vs. Enrique Auvert Vetencourt                                                        Cir., Miami                               On appeal
       11-03722-CA-24
                                                                                                                                      Concluded


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
       Yes. Fill in the information below.
       Creditor Name and Address                                 Describe the Property                                        Date                        Value of the
                                                                                                                                                             property
                                                                 Explain what happened




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11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
       Yes. Fill in the details.
       Creditor Name and Address                                 Describe the action the creditor took                        Date action was                Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
       Yes
 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
       Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                    Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
       Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                         Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)

 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
       Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                                                                                  loss                           lost
                                                            Include the amount that insurance has paid. List pending
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

       No
           Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Ryan Law Firm, P.A.                                           $3500                                                    4/17/2017                   $3,500.00
       8500 SW 92 Street
       Suite 202
       Miami, FL 33156
       jryan@ryanlawpa.com
       Debtor's ex-wife



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17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
       Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment                Amount of
       Address                                                       transferred                                              or transfer was              payment
                                                                                                                              made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
       Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or        Date transfer was
       Address                                                       property transferred                       payments received or debts      made
                                                                                                                paid in exchange
       Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
       Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                          Date Transfer was
                                                                                                                                                made

 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
       Yes. Fill in the details.
       Name of Financial Institution and                         Last 4 digits of          Type of account or           Date account was             Last balance
       Address (Number, Street, City, State and ZIP              account number            instrument                   closed, sold,            before closing or
       Code)                                                                                                            moved, or                         transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
       Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                               have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
       Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access            Describe the contents                  Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                       have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)




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 Part 9:      Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
       Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                     Describe the property                               Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)


 Part 10:     Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


25. Have you notified any governmental unit of any release of hazardous material?

           No
       Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No
       Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)


 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
             A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
             A member of a limited liability company (LLC) or limited liability partnership (LLP)
             A partner in a partnership
             An officer, director, or managing executive of a corporation
             An owner of at least 5% of the voting or equity securities of a corporation




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       No. None of the above applies. Go to Part 12.
           Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       Waveland, LLC                                             Debtor is not a owner.                          EIN:         XX-XXXXXXX
       9999 NE 2nd Ave., Suite 217                               Debtor was a director/manager.
       Miami, FL 33138                                           This company was the owner of a                 From-To      9/22/2006 to 9/27/2013
                                                                 contract with a company named
                                                                 Waveland Group that invest in Oil
                                                                 and gas.Waveland LLC received
                                                                 monthly payments for its
                                                                 participation in one of the
                                                                 Waveland Group Oil fields.



       ABA Management Services, LLC                              Debtor is not a owner.                          EIN:         XX-XXXXXXX
       5900 SW 73rd Street, Suite 304                            Debtor was a director/manager.
       Miami, FL 33143                                           This company was the manager                    From-To      9/15/2005 to 9/25/2015
                                                                 of a private equity fund
                                                                 denominated ABA Global Fund
                                                                 based in the Cayman Islands. The
                                                                 role of the manager was to follow
                                                                 the performance of the
                                                                 investments of the fund and,
                                                                 analyze and approve new
                                                                 investments and deal with the
                                                                 shareholders of the fund.



       Dearborn Investments, LLC                                 Debtor is not a owner.                          EIN:         XX-XXXXXXX
       9999 NE 2nd Ave, Suite 217                                Debtor was a director/manager.
       Miami, FL 33138                                           Holder of a participation of a real             From-To      7/6/2006-9/27/2013
                                                                 estate project in Chicago, Illinois.



       Waveland Investment, LLC                                  Debtor is not a owner.                          EIN:         XX-XXXXXXX
       9999 NE 2nd Avenue, Suite 217                             Debtor was a director/manager.
       Miami, FL 33138                                           This Company was the owner of a                 From-To      12/12/2006-9/27/2013
                                                                 contract with a company named
                                                                 Waveland Group that invest in Oil
                                                                 and gas.Waveland LLC received
                                                                 monthly payments for its
                                                                 participation in one of the
                                                                 Waveland Group Oil fields.



       200 N. Dearborn LLC                                       Debtor is not a owner.                          EIN:         XX-XXXXXXX
       9999 NE 2nd Avenue, Suite 217                             Debtor was a director/manager.
       Miami, FL 33138                                           Holder of a participation of a real             From-To      12/15/2006-9/27/2013
                                                                 estate project in Chicago, Illinois.




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       Business Name                                             Describe the nature of the business             Employer Identification number
       Address                                                                                                   Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)                Name of accountant or bookkeeper
                                                                                                                 Dates business existed
       L.A. Cafes, LLC                                           Debtor is not a owner.                          EIN:         XX-XXXXXXX
       25 W. Crystal Lakes St., Suite 175                        Debtor was a director/manager.
       Orlando, FL 32806                                         A restaurant located in Orlando,                From-To      1/17/2007-9/25/2015
                                                                 Florida



       ABA Ventures, LLC                                         Debtor is not a owner.                          EIN:         XX-XXXXXXX
       5900 SW 73rd Street, Suite 304                            Debtor was a director/manager.
       Miami, FL 33143                                           The holding company of all the                  From-To      2/5/2007-9/25/2015
                                                                 investments of the ABA Group in
                                                                 the United States.



       ABA Transition Fund, LLC                                  Debtor is not a owner.                          EIN:         XX-XXXXXXX
       5900 SW 73rd Street, Suite 304                            Debtor was a director/manager. A
       Miami, FL 33143                                           company created to receive                      From-To      11/29/2012-9/25/2015
                                                                 income from the investments of
                                                                 ABA Ventures and transfer them
                                                                 to the Recovery Fund organized
                                                                 in Panama with the Assets of the
                                                                 ABA Group.



       To Foods LLC                                              Debtor is not a owner.                          EIN:         NONE
       5900 SW 73rd Street, Suite 304                            Debtor was a director/manager.
       Miami, FL 33143                                           A company created to import                     From-To      1/11/2013-9/26/2014
                                                                 Quinoa from Peru. The company
                                                                 never got into operation.



       Southern Touch Appliances, LLC                            Debtor is not a owner.                          EIN:         NONE
       5900 SW 73rd Street, Suite 304                            Debtor was a director/manager. A
       Miami, FL 33143                                           whole seller of major appliances                From-To      3/5/2013-9/2/2014
                                                                 and air conditioning equipment
                                                                 sold to property managers and
                                                                 multifamily owners.



       Bricks One, Inc.                                          Debtor is not a owner.                          EIN:         XX-XXXXXXX
       9999 NE 2nd Avenue, Suite 217                             Debtor was a director/manager.
       Miami, FL 33138                                           The U.S holder of investments of                From-To      12/1/2005-9/27/2013
                                                                 a Real Estate Fund denominated
                                                                 Bricks Fund Inc.



       Bricks Management, LLC                                    Debtor is not a owner.                          EIN:         XX-XXXXXXX
       5900 SW 73rd Street, Suite 304                            Debtor was a director/manager.
       Miami, FL 33143                                           The company in charge of the                    From-To      10/12/2004-9/26/2014
                                                                 management and control of the
                                                                 investments of Bricks One.




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GENERAL EXPLANATION OF THE COMPANIES RELATED TO ENRIQUE AUVERT

Under the general structure of ABA, ABA Capital Group SF (Spain) was the holding company that
controlled four other companies in charge of Venezuela, Panamá, Colombia and the U.S respectively.

1) Investments in Venezuela:

ABA Servicios Financieros C.A, a Venezuelan company acting as holding of ABA Mercado de Capitales
and several other non financial companies related in the areas of construction, oil services, capital goods
distribution, cattle and ranching and real estate.

Enrique Auvert was the Vice president of ABA Servicios Financieros and the president of ABA Mercado
de Capitales (the subsidiary with a license to act as broker dealer).

ABA Servicios Financieros and ABA Mercado de Capitales are currently under liquidation by the
Venezuelan authorities.

2) Investments in Colombia:

The holding company in Colombia was ABA Servicios Financieros Colombia S.A. This company was the
owner of 60 percent of the shares of Asesorias e Inversiones, a Colombian broker dealer member of the
Bogotá Exchange. ABA Servicios Financieros Colombia had also investments in two real estate properties
in Bogota. In 2009 the company also invested in the temporary purchase of cattle that eventually sold
with a profit.

Alvaro Isaza Camacho was the president of Asesorias e Inversiones. Enrique Auvert was member of the
board of Asesorias e Inversiones and president of ABA Servicios Financieros Colombia S.A

ABA Servicios Financieros Colombia was absorbed by the Venezuelan holding and is currently part of the
liquidation process in Venezuela.

3) Investments in Panamá:

The holding company in Panamá was ABA Servicios Financieros Panamá S.A. The company had a rented
office in Panamá City that worked in a project to get a banking license in that country.

Mario Auvert Vengoechea was the president of ABA Servicios Financieros Panamá. Enrique Auvert was a
member of the board in that company.

ABA Servicios Financieros Panamá is no longer active. The company had no assets and no liabilities by
the time it ceased its operations in 2011.

4) Investments in the United States:

ABA was the beneficiary of a trust named ABA Operating Trust. The Trust is at the same time the sole
owner of ABA Ventures LLC (previously known as ABA Gas Services LLC). ABA Ventures is the holding
that covers the investments of the Group in the U.S

Enrique Auvert is the manager of ABA Ventures LLC but the property of the shares of ABA Ventures is
placed to the ABA Operating Trust.
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Other companies related to Enrique Auvert:

By December 2010, Enrique Auvert no longer worked for ABA. In 2011 he created Urantia LLC; a
company dedicate to consulting services in the area of management.

In 2011, Urantia created with Genaro Diaz a company named GEM of Delaware with the purpose of
initiate operations in the pay day loan business. The company was closed that very same year.

In 2013, Enrique Auvert got into a society with Carlos Neudstaldt (Peruvian), named T.O Foods with the
purpose of importing Quinoa from Perú. The company had no activity and was inactive by the beginning
of 2014.

 In March 2013, Marta Montenegro created a company named Southern Touch Appliances LLC (a Florida
company). Southern Touch was a whole seller of appliances and air conditioning. The company was
owned by Marta Montenegro (50%) and Alirio Gonzalez (50%) and its assets were sold to Mr. Gonzalez
in 2015.



ALL THE ASSETS OF ABA CAPITAL GROUP, INTERNATIONAL EQNOX AND ABA OPERATING TRUST (ABA
VENTURES), WERE TRANSFERRED IN 2011 TO A RECOVERY FUND IN PANAMA NAMED ABA TRANSITION
FUND (RECUPERADORA LATINOAMERICANA). THIS COMPANY IS UNDER THE MANAGEMENT OF
FORMER CREDITORS (CLIENTS) OF THE ABA GROUP AND THE PURPOSE OF ITS CREATION WAS TO
GATHER AND SELL THE REMAINING ASSETS OF THE COMPANY TO ALL THE GROUP CLIENTS. THE FUND IS
CURRENTLY UNDER THE DIRECTION OF TWO MANAGERS: GONZALO RUIZ AND LEVIALID PEREZ.

BESIDES HIS 7% OWNERSHIP IN INTERNATIONAL EQNOX, ENRIQUE AUVERT HAS NO SHARES OR
PROPERTY IN ANY OF THE ABA GROUP COMPANIES SINCE ALL THE SHARES AND INVESTMENTS OF SUCH
GROUP WERE TRANSFERRED IN 2011 TO RECUPERADORA LATINOAMERICANA FOR THE PURSPOSE OF
PAYMENT OF THE GROUP OBLIGATIONS WITH ITS CUSTOMERS.
